Case:18-10273-SDB Doc#:27 Filed:05/07/18 Entered:05/09/18 17:46:10          Page:1 of 1




       IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                     SOUTHERN DISTRICT OF GEORGIA




 In the matter of:                               Chapter
 Fr     <.r\              cU
                                                 CaseNo._Zilliil?B'^DB


                     Debtor(s)



          hereby withdraw 1141
               Qor                 /FoKwcKc- £^34^—                 IMfl


 The undersigned certifies that opposing counsel has been advised of this
 withdrawal.




                                     Attorney/Trtistee



  Dated:




  Revised 4/13/09
